               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                          CIVIL CASE NO. 3:07cv164
                        (CRIMINAL CASE NO. 3:01cr135)


JOHN HENRY STACKS,          )
                            )
              Petitioner,   )
                            )
         vs.                )                   MEMORANDUM OF
                            )                   DECISION AND ORDER
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
____________________________)


      THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 [Doc. 1]; the

Government’s de facto motion for summary judgment1 [Doc. 11]; and

Petitioner’s two responses to the Government’s motion for summary judgment

[Docs. 13 and 14].

                            I. STANDARD OF REVIEW

      Rule 56(e)(2) of the Federal Rules of Civil Procedure reads, in pertinent

part, as follows:




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          The Government titled its motion as a Motion to Dismiss, but from the context it
is clearly a Motion for Summary Judgment and was docketed as such.



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            When a motion for summary judgment is properly
            made and supported [by affidavits], an opposing party
            may not rely merely on allegations or denials in its
            own pleading; rather, its response must – by affidavits
            or as otherwise provided in this rule – set out specific
            facts showing a genuine issue for trial. If the
            opposing party does not so respond, summary
            judgment should, if appropriate, be entered against
            that party.

      The Court carefully has considered the parties’ arguments along with

the relevant law, and has determined that Respondent’s motion for summary

judgment should be granted and Petitioner’s Motion to Vacate should be

denied and dismissed.



           II. FACTUAL AND PROCEDURAL BACKGROUND

      On July 11, 2001, Petitioner was one of three persons charged in a

nine-count Bill of Indictment alleging that he conspired to commit six bank

robberies, in violation of 18 U.S.C. § 371 (Count One); that he conspired to

possess powder cocaine and cocaine base with intent to distribute those

substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count Two); that

he committed a carjacking, in violation of 18 U.S.C. § 2119 (Count Three);

that he used, carried and brandished a firearm during and in relation to three

separate crimes of violence, in violation of 18 U.S.C. § 924(c)(1) (Counts

Four, Six and Eight); that he committed two separate violations of the Hobbs


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Act, in violation of 18 U.S.C. § 1951 (Counts Five and Seven); and that he

possessed a firearm after previously having been convicted of a felony, in

violation of 18 U.S.C. §§ 922(g)(1) and 924(e) (Count Nine). [Criminal Case

No. 3:01cr135, Doc. 1]. Also on July 11, 2001, the Government filed an

Information pursuant to 21 U.S.C. § 841(b) asserting that the drug conspiracy

charged in Count Two involved 50 grams or more of cocaine base. [Id., Doc.

2].

       On March 7, 2002, Petitioner’s case was transferred, pursuant to Rule

20 of the Federal Rules of Criminal Procedure, to the United States District

Court for the District of South Carolina where, on March 9, 2002, he pled

guilty to the two § 924(c) charges set forth under Counts Four and Six.

[USDC Case 0:02-cr-286-CMC-1 (D.S.C.), Docs. 6 and 7].2 On December 11,

2002, however, that Court entered an Order allowing Petitioner to withdraw

his pleas and returning his case to this District. [Id., Doc. 13].

       On July 28, 2003, Petitioner appeared before this Court and tendered

“straight up” guilty pleas to all nine counts of the Indictment. [Civil Case No.

3:07cv164, Plea and Rule 11 Transcript, Doc. 10-4 at 5-6]. On that occasion,




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         In addition to the instant charges, the Petitioner also was charged in the District
of South Carolina with substantive bank robbery charges for two of the robberies
underlying the bank robbery conspiracy charge herein. [Presentence Report, prepared
September 15, 2003 at ¶127].

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the Court3 engaged Petitioner in a lengthy colloquy to ensure that his pleas

were being intelligently and freely given. At the conclusion of that proceeding,

based upon all of the answers from Petitioner and his counsel, the Court

determined that he was “willfully, knowingly and intentionally, after a full

understanding of all of his rights pertaining to the defense of the matter,

tender[ing] a plea of guilty to Counts One [through] Nine.” [Id. at 34]. Further,

the Court     found that Petitioner had not been threatened or made any

promises in order to induce his pleas; that he had been encouraged by his

attorney to give truthful answers; and that he had, in fact, truthfully answered

the Court’s questions.        [Id. at 34-35].      Accordingly, the Court accepted

Petitioner’s pleas. [Id. at 35].         Petitioner then requested an expedited

Presentence Report and sentencing proceeding. [Id. at 37].

       Petitioner’s Presentence Report, dated September 15, 2003, calculated

his sentencing exposure for each offense. Based upon the Information which

the Government filed asserting Petitioner’s accountability for more than 50

grams of cocaine base, the Probation Officer determined that his drug

conspiracy conviction was the one which yielded the highest offense level.

[Presentence Report at ¶67]. Upon grouping Petitioner’s offense levels for all



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           Petitioner’s Plea hearing was conducted by the Honorable William L. Osteen,
Sr., visiting Judge from the United States District Judge for the Middle District of North
Carolina, who is now deceased.

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but his convictions under § 924(c) and applying a two-level reduction for his

acceptance of responsibility, it was further determined that his total offense

level was 33. [Id. at ¶¶67, 72 and 96-112]. It was also determined that

Petitioner was an armed career criminal with a Criminal History Category of

VI and a corresponding guidelines range of imprisonment of 235 to 293

months for those offenses. [Id. at ¶¶112 and 166]. Finally, it was determined

that Petitioner was subject to not less than seven years’ imprisonment on his

first § 924(c) conviction, and to 25 years for each of his other two § 924(c)

convictions. [Id. at ¶166].

      On October 17, 2003, Petitioner appeared for his Factual Basis and

Sentencing Hearing, at which time he sought to withdraw his plea to the drug

charge on the reported ground that he only pled guilty to it because an

unindicted co-conspirator had threatened to harm his wife and child if he

revealed that person’s involvement in the offense. [Civil Case No. 3:07cv164,

Plea Withdrawal Transcript, Doc. 10-5 at 2]. The Government opposed that

request; therefore, the Court deferred ruling on the request until it could

review the transcript of Petitioner’s Plea and Rule 11 Hearing. [Id. at 6-7].

      Petitioner’s Sentencing Hearing was reconvened on December 1, 2003.

At the outset of that proceeding, Petitioner again denied that he was guilty of

the drug charge and advised the Court that he had been “under a great deal


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of pressure” at the time he entered his guilty pleas because of the

aforementioned threats. [Id., Factual Basis and Sentencing Transcript, Doc.

10-6 at 3]. Petitioner also stated that on the morning that he entered his

pleas, he was not his “normal self” because he was under the influence of

Prozac, and he could not be sure whether he had told the Court that he

understood that proceeding. [Id. at 4-6]. To clarify Petitioner’s position,

defense counsel advised the Court that Petitioner was seeking to withdraw his

pleas with respect to the the drug charges as well as the three § 924(c)

charges. [Id. at 6]. The Government again opposed Petitioner’s request,

reminding the Court that prior to the time that he entered his pleas in this

Court, he already had been permitted to withdraw his guilty pleas to two of

these charges when his case was pending in the District of South Carolina.

[Id. at 7]. The Government further noted that at the time of Petitioner’s plea

hearing here, he swore that he fully understood that proceeding, and the

transcript from the hearing supported the denial of Petitioner’s request to

withdraw his pleas. [Id. at 7-8].

      After considering the parties’ arguments, the Court orally denied

Petitioner’s request to withdraw his guilty pleas.    [Id. at 9].   Thereafter,

Petitioner was sentenced to a total of 919 months’ imprisonment, to wit: 235

months on his convictions for the drug conspiracy, the two Hobbs Act


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violations and the armed career criminal offense, 60 months imprisonment on

the bank robbery conspiracy and 180 months imprisonment on the carjacking

conviction, all terms to be served concurrently with one another and with the

84-month sentence which Petitioner received for his bank robbery convictions

in the District of South Carolina. [Criminal Case No. 3:01cr135, Doc. 72].

Petitioner also received consecutive terms of 84 months’ imprisonment on his

first § 924(c) conviction and 300 months each on his other two § 924(c)

convictions. [Id.].

      On December 5, 2003, the Court filed an Order memorializing its denial

of Petitioner’s request to withdraw his various pleas.          [Id., Doc. 70].

Specifically, the Order noted that the record established that Petitioner had

enjoyed the close assistance of counsel before and during the entry of his

pleas; that Petitioner had entered his pleas while undergoing an extremely

carefully conducted proceeding; and that had there been any real threat of

harm against Petitioner’s family or difficulty in his ability to understand the

proceeding, had he been laboring under the influence of any drug or other

substance that affected his ability to appreciate his circumstances, or had

there been any obstacle to his ability to give truthful answers, the Court’s

detailed and careful questioning would have revealed it.           [Id. at 8-9].

Furthermore, the Order explained that Petitioner had failed to present any


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credible evidence that his pleas were unknowingly and involuntarily made;

and that his self-serving denials of guilt, which were made about three months

after he entered his guilty pleas and after his Presentence Report was

prepared and reviewed by him and his counsel, simply were not enough to

overcome his sworn representations to the contrary. [Id. at 8]. Therefore, the

Court concluded that Petitioner’s request to withdraw his pleas was not

supported by fair and just reasons as required by United States v. Moore, 931

F.2d 245, 248 (4 th Cir. 1991). [Id. at 2 and 9].

       Petitioner timely appealed to the Fourth Circuit Court of Appeals,

arguing that this Court erred by not determining the factual basis for each of

his pleas in violation of Rule 11(b)(3) of the Federal Rules of Criminal

Procedure, and by denying his request to withdraw his pleas to the drug

conspiracy and § 924(c) charges. United States v. Stacks, 122 F. App’x 9 (4 th

Cir. 2005). The Circuit Court, however, applied the plain error standard to the

claim of a Rule 11 violation and concluded that there was no such error. Id.

at 10. Furthermore, the Circuit Court found that this Court did not abuse its

discretion in denying Petitioner’s request to withdraw the subject guilty pleas.

Id.   Thus, Petitioner’s convictions and sentences all were affirmed.           Id.

Thereafter, Petitioner petitioned the Court of Appeals for a rehearing on the

ground that this Court’s imposition of his sentence under the mandatory


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guidelines system which was in effect at the time he was sentenced

constituted plain error in light of the then-recent ruling in United States v.

Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005); however, that

petition was denied. Likewise, Petitioner’s petition for a writ of certiorari was

denied by the United States Supreme Court. Stacks v. United States, 547

U.S. 1086, 126 S.Ct. 1811, 164 L.Ed.2d 546 (2006).

      Petitioner next returned to this Court on the instant Motion to Vacate,

first alleging that his Sixth Amendment rights and his right to due process

were violated when the Court treated the Guidelines as mandatory and, in

turn, sentenced him on the basis of facts which were neither found by a jury

nor admitted by him, in violation of Booker, supra, and United States v.

Hughes, 401 F.3d 540 (4 th Cir. 2005).        [Doc. 1 at 5 and 11].      Second,

Petitioner claims that his sentence for the carjacking conviction is

unreasonable in light of the ruling in Rita v. United States, 551 U.S. 338, 127

S.Ct. 2456, 168 L.Ed.2d 203 (2007). [Id. at 7 and 11]. Third, Petitioner

alleges that his entire sentence is unreasonable because this Court failed to

consider all of the factors which would have justified a lower sentence, and

because the sentence was imposed pursuant to the Circuit Court’s rule that

a “sentence within the properly calculated guideline grange is presumptively

correct.” [Id. at 8 and11]. Fourth, Petitioner alleges that the Court abused its


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discretion by denying his request to withdraw the subject guilty pleas. [Id. at

12-17]. Last, Petitioner alleges that he was subjected to ineffective assistance

of appellate counsel. [Id. at 29].

        On October 30, 2007, the Government filed an Answer arguing that

Petitioner’s challenges to the denial of his motions to withdraw his guilty pleas

and to this Court’s mandatory application of the Guidelines are barred by the

Fourth Circuit’s denial of those matters; that his other challenges to his

sentences are barred by his procedural default of them, and are baseless in

any event; and that his allegations of ineffective assistance of counsel also

are baseless. [Doc. 10]. Therefore, the Government filed a motion to dismiss,

which the Court converted to a motion for summary judgment. [Docs. 11 and

12].

        On November 13, 2007, Petitioner filed a Motion by which he objects to

and opposes the Government’s motion for summary judgment. [Doc. 13].

Petitioner’s Motion asserts that he was suffering from a diminished mental

capacity at the time he tendered his guilty pleas. [Id. at 1-2]. The Motion

further contends that Petitioner’s plea hearing was unconstitutional because

the Judge failed to sign a written document memorializing those proceedings;

and that he was taken advantage of by the Government because of the

threats and coercion and his diminished capacity. [Id. at 2-3 ]. Petitioner also


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contends that the Court should have granted his Motion to Vacate and denied

the Government’s motions for an extension of time to file their response to

that Motion. [Id. at 3].

      On December 3, 2007, Petitioner filed another Response to the

Government’s motion for summary judgment seeking to dismiss the

Government’s Response to his Motion to Vacate. [Doc. 14]. Such Response

seeks the dismissal of the Government’s motion for summary judgment on the

basis of the arguments which Petitioner raised in opposition to the

Government’s motions for extensions of time, and further reiterates

Petitioner’s challenges to the constitutionality of his Plea hearing. [Id. at 1-4].



                                II. DISCUSSION

      A. Procedural Bar

      Petitioner’s first claim alleges that his Sixth Amendment rights and his

right to due process were violated when the Court treated the Guidelines as

mandatory and, in turn, sentenced him on the basis of facts which were

neither found by a jury nor admitted by him, in violation of Booker and

Hughes. By his fourth claim, Petitioner alleges that the Court abused its

discretion in denying his request to withdraw certain of his guilty pleas

because it failed to consider various relevant matters in reaching that


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decision. As was previously noted, however, the record is clear that the

Fourth Circuit rejected these challenges on Petitioner’s direct appeal, United

States v. Stacks, 122 F. App’x at 10, and it denied his petition for a rehearing

of the appeal which was based on the Booker decision.

      Petitioner has not identified any favorable intervening change in the law

which can be applied in this collateral proceeding; thus, he simply is not free

to re-litigate these issues. See United States v. Bell, 5 F.3d 64, 66 (4 th Cir.

1993) (the “law of the case” doctrine forecloses re-litigation of issues

expressly or impliedly decided by the appellate court); Boeckenhaupt v.

United States, 537 F.2d 1182, 1183 (4 th Cir. 1976) (absent an intervening

change in law, issues decided on direct appeal may not be re-litigated in

habeas case). Furthermore, even if Petitioner’s Booker claim were not barred

by the law of the case doctrine, Booker cannot be retroactively applied in this

collateral proceeding. See United States v. Morris, 429 F.3d 65, 72 (4 th Cir.

2005) (although Booker announces a new rule for Teague purposes, it is not

retroactively applicable on collateral review).

      Moreover, Petitioner’s reliance upon Hughes is misplaced. Indeed,

while the Hughes Court found that the defendant’s sentence was plain,

reversible error in light of Booker, Hughes offered “no criticism of the district

judge, who followed the law and procedure in effect at the time of


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[defendant’s] sentencing.” Hughes, 401 F.3d at 545 n.4. In any case, the

Guidelines were, in fact, mandatory at the time Petitioner was sentenced, see

Mistretta v. United States, 488 U.S. 361, 109 S.Ct. 647, 102 L.Ed.2d 714

(1989); therefore, first and fourth claims are both factually and legally

baseless.



      B. Procedural default

      Petitioner’s second and third claims allege that his carjacking sentence

is unreasonable in light of Rita, and his entire sentence is unreasonable

because the Court failed to consider all of the factors which would have

justified a lower sentence, and it was imposed pursuant to the Circuit Court’s

rule concerning the presumption of correctness applied to properly calculated

guidelines sentences. Notably, however, Petitioner did not raise these claims

on direct appeal.

      Generally, claims that could have been, but were not, raised on direct

review are procedurally barred by default. Indeed, “[h]abeas review is an

extraordinary remedy and will not be allowed to do service for an appeal.”

Bousley v. United States, 523 U.S. 614, 621, 118 S.Ct. 1604, 140 L.Ed.2d 828

(1998) (citation and internal quotation marks omitted). Thus, in order to

collaterally attack a conviction or sentence based upon errors that could have


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been pursued on direct appeal, a petitioner must show cause and actual

prejudice resulting from the errors complained of, or that he is actually

innocent. United States v. Mikalajunas, 186 F.3d 490, 492-93 (4 th Cir. 1999)

(citing United States v. Frady, 456 U.S. 152, 167-68, 102 S.Ct. 1584, 71

L.Ed.2d 816 (1982)).

      Although Petitioner asserts that these claims were not raised due to

counsel’s ineffectiveness, this conclusory assertion falls far short of

establishing “cause” for his procedural default. As the Supreme Court long

ago observed, “the mere fact that counsel failed to recognize the factual or

legal basis for a claim, or failed to raise the claim despite recognizing it, does

not constitute cause for procedural default.” Murray v. Carrier, 477 U.S. 478,

486, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986). Rather, to establish “cause” for

his procedural default of these claims, on this record, Petitioner must “show

that some objective factor external to the defense impeded counsel’s efforts

to comply with the [] procedural rule . . . .” Id. at 488, 106 S.Ct. 2639.

      Here, Petitioner has not established cause for his procedural default on

the basis of counsel’s performance. Nor has he demonstrated that he is

actually innocent of the charges for which he was sentenced. Therefore,

these claims are barred by Petitioner’s procedural default.




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      C. Ineffective assistance of counsel

      By the final claim in Petitioner’s Motion to Vacate, he asserts that

appellate counsel was ineffective for having moved the Circuit Court, pursuant

to Rule 28(j) of the Federal Rules of Appellate Procedure, to remand his case

back to this Court for resentencing under Booker and Hughes, rather than

submitting those authorities to this Court in support of a motion for re-

sentencing. [Doc. 1 at 29]. In support of this claim, Petitioner argues that

when counsel subsequently filed a motion for rehearing with the Court of

Appeals, counsel conceded that his performance was deficient; and that had

counsel timely filed such motion for re-sentencing with this Court, the Circuit

Court somehow would have granted the motion and remanded the case for

re-sentencing. These allegations are meritless.

      The Sixth Amendment requires that “[i]n all criminal prosecutions, the

accused shall enjoy the right . . . to have the Assistance of Counsel for his

defence.” U.S. Const. amend. VI. In addition, case law requires that to satisfy

this right, the assistance must be effective. Strickland v. Washington, 466 U.S.

668, 685, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) (“An accused is entitled to

be assisted by an attorney, whether retained or appointed, who plays the role

necessary to ensure that the trial is fair.”). This right to effective assistance of

counsel extends to the direct appeal phase of the case as well. Evitts v.


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Lucey, 469 U.S. 387, 396, 105 S.Ct. 830, 83 L.Ed.2d 821 (1985) (“A first

appeal as of right . . . is not adjudicated in accord with due process of law if

the appellant does not have the effective assistance of an attorney.”).

Thus, in order to establish a claim for relief, Petitioner must demonstrate that

his appellate counsel’s performance was deficient, that is, that it fell below an

objective standard of reasonableness when considered in light of the

prevailing norms of practice, Strickland, 466 U.S. at 687-88, and that such

deficiency prejudiced him such that there is a “reasonable probability that, but

for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Id. at 694.

      In reviewing claims of ineffective assistance of counsel, “[j]udicial

scrutiny of counsel’s performance must be highly deferential”; therefore,

reviewing courts “must indulge a strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance . . . .” Id. at

689. Petitioner bears the burden of proving Strickland prejudice, and if he

fails to do so “a reviewing court need not consider the performance prong.”

Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297 (4 th Cir. 1992). Finally,

it must be remembered that “[a] decision with respect to an appeal is entitled

to the same presumption that protects sound trial strategy.” Pruett v.

Thompson, 996 F.2d 1560, 1568 (4 th Cir. 1993).


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      Petitioner filed his notice of appeal on December 9, 2003. Thus, as the

Government points out, such timely filed notice of appeal conferred jurisdiction

over this case upon the Court of Appeals and divested this Court of its “control

over those aspects of the case involved in the appeal.” Griggs v. Provident

Consumer Discount Co., 459 U.S. 56, 58, 103 S.Ct. 400, 74 L.Ed.2d 225

(1982); see also United States v. Perate, 719 F.2d 706, 711 (4 th Cir. 1983)

(filing of notice of appeal terminated the district court’s jurisdiction over the

case).   For this reason it would have been futile for counsel to have filed a

motion for resentencing with this Court while the appeal was pending,

because this Court no longer had jurisdiction to entertain challenges related

to Petitioner’s sentence.

      Furthermore, Rule 28(j) of the Federal Rules of Appellate Procedure

provides that “[i]f pertinent and significant authorities come to a party’s

attention after the party’s brief has been filed -- or after oral argument but

before decision -- a party may promptly advise the circuit clerk by letter . . .

setting forth the citations . . . [and] the reasons for the supplemental citations

. . . .” Fed. R. App. P. 28(j). At the time that Booker was decided, Petitioner’s

case already had been briefed and was awaiting disposition by the Circuit

Court. Thus, it was entirely appropriate for counsel to have brought that new




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precedent to the attention of the Court of Appeals, as opposed to filing

anything in this Court.

      Contrary to Petitioner’s assertion, counsel’s decision to seek rehearing

at the Court of Appeals was not a concession of ineffectiveness. Counsel had

served his Rule 28(j) supplemental authorities on January 27, 2005.

Unbeknownst to counsel, the Court of Appeals had issued its decision on

Petitioner’s appeal the day before (even though no mandate had yet been

issued). Thus, in order to get the additional authorities before the Court of

Appeals, counsel filed the petition for rehearing. Far from showing ineffective

assistance, counsel show remarkable diligence, filing the Rule 28(j) authorities

only three days after the issuance of the opinion cited. Rule 35 of the Federal

Rules of Appellate Procedure provides that a party may petition for a

rehearing when it is believed that “the panel decision conflicts with a decision

of the United States Supreme Court or of [this Circuit] Court.” Fed. R. App.

P. 35(b)(1)(A). Therefore, appellate counsel’s decision to seek rehearing was

proper and manifests no error.



      D. Miscellaneous arguments

      Finally, Petitioner’s motion in opposition to the Government’s motion for

summary judgment and his Response to that motion each attempt to raise


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additional challenges to his convictions and sentences. [Docs. 13 and 14].

For instance, Petitioner asks the Court to consider his arguments in opposition

to the Government’s Motions for Extensions of time [Docs. 5, 8 and 9] as

grounds for granting his Motion to Vacate.        Suffice it to say, however,

Petitioner’s opposition to the Government’s properly filed Motions for

Extensions of time do not entitle him to habeas relief.

      Petitioner also argues that his plea hearing was unconstitutional

because the presiding Judge failed to sign a document which memorialized

that proceeding.    This argument was not raised in Petitioner’s appeal,

however, and he has not articulated any reason to excuse his procedural

default of it.   Nor was this argument raised prior to the expiration of

Petitioner’s one-year deadline under the Antiterrorism and Effective Death

Penalty Act. See 28 U.S.C. § 2255(f) (generally requiring that all habeas

claims be brought within one-year of the date on which the movant’s case

became final either through direct review or the expiration of the time for

bringing such direct review). Therefore, this claim, which appears to be time-

barred in any case, clearly is procedurally defaulted. See Bousley, 523 U.S.

at 621, 118 S.Ct. 1604.

      Finally, Petitioner’s documents also attempt to modify his challenge to

his guilty pleas, claiming that he was suffering from a diminished mental


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capacity and was taken advantage of by the Government at the time he

entered those pleas. To the extent that these allegations significantly differ

from the challenge which already was rejected by the Circuit Court, they still

are barred due to Petitioner’s unexcused failure to raise them on direct

appeal. Id.

                                 IV. ORDER

      IT IS, THEREFORE, ORDERED THAT:

      1. Petitioner’s Motion of Objection [Doc. 13] is DENIED;

      2. The Government’s de facto motion for summary judgment [Doc.

11] is GRANTED; and

      3. Petitioner’s Motion to Vacate, Set Aside or Correct Sentence [Doc.

1] is DENIED and DISMISSED.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, this Court declines to issue a certificate of

appealability as Petitioner has failed to establish that reasonable jurists

would find that this court’s assessment of his constitutional claim is

debatable or wrong, Slack v. McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595,

146 L.Ed.2d 542 (2000); Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123

S.Ct. 1029, 154 L.Ed.2d 931 (2003). Moreover, Petitioner has failed to

demonstrate both that this Court’s dispositive procedural rulings are


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debatable and that his Motion to Vacate states a debatable claim of the

denial of a constitutional right. Slack, 529 U.S. at 484-85.

      IT IS SO ORDERED.

                                       Signed: September 8, 2010




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